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      In The United States Court of Federal Claims
                                         No. 11-610T

                                    (Filed: March 16, 2012)
                                          __________
 PRINCIPAL INVESTORS
 CORPORATION,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                         __________

                                          ORDER
                                         __________

       A telephonic preliminary status conference will be held in this case on Wednesday, April
4, 2012, at 2:00 p.m. (EST). Chambers will contact the parties shortly before the scheduled
conference time.

       IT IS SO ORDERED.



                                                   s/ Francis M. Allegra
                                                   Francis M. Allegra
                                                   Judge
